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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 JUSTIN GUY,
                                                                 Case No.: 20-cv-12734
                Plaintiff,
                                                                 Hon. Mark A. Goldsmith
 v.

 ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                     /

                             DECLARATION OF GARY JOHNSON, JR.

        I, GARY JOHNSON, JR., pursuant to 28 U.S.C. § 1746, declare as follows:

        1.      I make this Declaration upon personal knowledge and state that the information

 specified below is true to the best of my knowledge and, if sworn as a witness, I would be

 competent to testify to the same.

        2.      I worked as a Truck Driver for ABSOPURE WATER COMPANY (“Defendant”)

 from approximately January 2022 through March 2023.

        3.      I drove exclusively within the state of Michigan for Defendant.

        4.      I also drove Absopure sprinter vans which I understand weigh less than 10,001

 pounds on a few occasions.



        Jul 21, 2023
 Dated: ____________                                 __________________________
                                                     Gary Johnson Jr (Jul 21, 2023 11:43 EDT)
                                                           GARY JOHNSON
